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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MICHAEL ADAMS,                      )
                                    )                       Case No. 1:14-cv-07812
          Plaintiff,                )
                                    )                       Judge: John W. Darrah
v.                                  )
                                    )                       Magistrate Judge: Daniel Martin
FREEDMAN ANSELMO LINDBERG LLC and )
PORTFOLIO RECOVERY ASSOCIATES, LLC, )
                                    )
          Defendants.               )
                                    )


                    PORTFOLIO RECOVERY ASSOCIATES, LLC’S
             CORPORATE DISCLOSURE & NOTIFICATION AS TO AFFILIATES

        Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC (“PRA”), by and thought its

attorneys, David M. Schultz, Avanti D. Bakane and Katherin H. Tresley of Hinshaw & Culbertson

LLP, and pursuant to Federal Rule of Civil Procedure 7.1 and Local Rule 3.2, states as follows:

        1.      Portfolio Recovery Associates, LLC is a subsidiary of PRA Group, Inc., a publicly

traded company.

        2.      No publicly held corporation owns 5% or more of Portfolio Recovery Associates,

Inc.’s stock.

                                                   Respectfully submitted,

                                                   PORTFOLIO RECOVERY ASSOCIATES,
                                                   LLC, Defendant

                                                   /s/ Katherine H. Tresley
                                                   Katherine H. Tresley
David M. Schultz
Avanti D. Bakane
Katherine H. Tresley
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 25, 2014, I electronically filed with the Clerk of the U.S.
District Court, Northern District of Illinois Eastern Division, the foregoing Portfolio Recovery
Associates, LLC’s Corporate Disclosure & Notification as to Affiliates by using the CM/ECF
system, which will send notification of such filing(s) to:

Mohammed O. Badwan
Sulaiman Law Group, Ltd.
900 Jorie Boulevard, Suite 150
Oak Brook, Illinois 60523
E-mail: mbadwan@sulaimanlaw.com
                                                     s/ Katherine H. Tresley




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